      Case: 1:09-cr-00540 Document #: 216 Filed: 01/26/15 Page 1 of 4 PageID #:925




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

                                           )
UNITED STATES OF AMERICA                   )
                                           )       Judge Samuel Der-Yehgiayan
               v.                          )
                                           )              No. 09 CR 540
MICHELLE PARKER                            )


                                     NOTICE OF FILING

TO:     Elizabeth A. Wilson                       Troy Grooms
        Assistant United States Attorney          United States Probation Office
        219 South Dearborn St, 5th Floor          55 E. Monroe St., Suite 1500
        Chicago, IL 60604                         Chicago, IL 60603

        PLEASE TAKE NOTICE that on this 26th day of January, 2015, the undersigned filed
the following document(s) in the above-captioned cause, a copy of which is attached hereto.

-       DEFENDANT MICHELLE PARKER’S STATUS REPORT


                                           Respectfully submitted,

                                           FEDERAL DEFENDER PROGRAM
                                           Carol A. Brook
                                           Executive Director

                                           By: s/ MiAngel Cody
                                               MiAngel Cody
                                               Attorney for Defendant

MIANGEL CODY
Federal Defender Program
55 E. Monroe Street, Suite 2800
Chicago, IL 60603
(312) 621-8348
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

                                            )
UNITED STATES OF AMERICA                    )
                                            )       Judge Samuel Der-Yehgiayan
              v.                            )
                                            )             No. 09 CR 540
MICHELLE PARKER                             )


             DEFENDANT MICHELLE PARKER’S STATUS REPORT

       The defendant, MICHELLE PARKER, by and through her counsel THE

FEDERAL DEFENDER PROGRAM and its attorney, MIANGEL C. CODY, respectfully

submits this yearly Status Report to the Court:

       1.     Ms. Parker was convicted of wire fraud, a violation of 18 U.S.C. §1343. On

November 30, 2010, this Court sentenced Ms. Parker to five years’ probation. In

considering the substantial mitigation in Ms. Parker’s case, the Court specifically noted Ms.

Parker’s commitment to be a good mother to her two young daughters. Ms. Parker continues

to serve her probation without incident and offers the Court this yearly update.

       2.     Ms. Parker and her daughters continue to volunteer at local homeless shelters

and nursing homes during the holiday season.

       3.     In 2013, Ms. Parker learned that her youngest daughter is dyslexic and

therefore struggles with reading. In an effort to help her daughter and to understand more

about dyslexia, Ms. Parker enrolled in Roosevelt University’s Master Program; and this

spring, Ms. Parker will graduate from Roosevelt with a Master’s in the Art of Reading.
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       4.      Each night after school, Ms. Parker began tutoring her fourth grade daughter,

whose dyslexia made reading challenging. Ms. Parker is happy to report that both of her

daughters are now excelling academically at St. Helen’s Catholic School. Her fourth grader is

now earning As and Bs. In addition, Ms. Parker’s sixth grade daughter has earned all A’s for

the entire academic year. Copies of both daughters reports cards will be tendered to the

Court’s chambers via courtesy copy. Ms. Parker is extremely grateful for the chance the

Court gave her to remain present in her daughter’s lives and to be the mother she is today.



                                           Respectfully submitted,

                                           FEDERAL DEFENDER PROGRAM
                                           Carol A. Brook,
                                           Executive Director


                                           By: /s/ MiAngel Cody______
                                              MiAngel C. Cody
                                              Counsel for Michelle Parker

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                              CERTIFICATE OF SERVICE

      The undersigned,        MiAngel Cody       , an attorney with the Federal Defender
Program hereby certifies that in accordance with FED.R.CIV.P5, LR5.5, and the General
Order on Electronic Case Filing (ECF), the following document(s):


             DEFENDANT MICHELLE PARKER’S STATUS REPORT


was served pursuant to the district court’s ECF system as to ECF filings, if any, and were
sent by first-class mail/hand delivery on January 26, 2015, to counsel/parties that are non-
ECF filers.



                                    By:      /s/ MiAngel Cody
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                                            Chicago, Illinois 60603
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